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                                                           ACKNOWLEDGMENT AND NOTICE OF APPEARANCE

Short Title:       Bromfield-Thomspson v. American University of Antigua                                                                     Docket No.:?090%

Lead Counsel of Record (name/firm) or Pro se Party (name),                                            Robb W. Patryk, Hughes Hubbard & Reed LLP


Appearance for (party/designation):                         American University of Antigua; Manipal Education Americas, LLC (Defendants/Appellees)
 (both incorrectly referred to in the District Court caption as "American University of Antigua/Manipal Education Americas, LLC, AKA GCLR, LLC")

                                                          DOCKET SHEET ACKNOWLEDGMENT/AMENDMENTS

Caption as indicated is:
{7) Corec
0 Incorrect. See attached caption page with corrections.
 Appellate Designation is:
? core
0 Incorrect. The following parties do not wish to participate in this appeal:
     Parties:
0 Incorrect. Please change the following parties' designations:
     Party                                          Correct Designation


Contact Information for Lead Counsel/Pro Se Party is:
v) corcc
0 Incorrect or Incomplete. As an e-filer, I have updated my contact information in the PACER "Manage My Account" screen.
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                                                                                        RELATED CASES

[Yl) This case has not been before this Court previously.
([_l) This case has been before this Court previously. The short title, docket number, and citation are:

([l Matters related to this appeal or involving the same issue have been or presently are before this Court.                                          The short titles,
docket numbers, and citations are:


                                                                                         CERTIFICATION

I certify that      fr) I am admitted to practice in this Court and, if required by LR 46.1(a)(2), have renewed
                                                                                                          my admission on
11/24/2020                OR that                     O
                                        I applied for admission on                                  or renewal on
                              If the Court has not yet admitted me or approved my renewal, I have completed Addendum A.
Signature of Lead Counsel of Record:/S/                       Robb
'[ype or Print Name; '0DD
         OR
Signature of pro se litigant:
Type or Print Name:                                                                                                       _
0 I am a pro se litigant who is not an attorney.
Ml) I am an incarcerated pro se litigant.
                            Case 20-3855, Document 20, 12/08/2020, 2988678, Page2 of 3



                           ADDENDUM A TO ACKN OWL EDGMENT AND NOTICE OF APPEARA NCE

Instructions: This addendum must be (1) completed by counsel whom the Court has not yet admitted or approved for
renewed admission, (2) submitted in CM/ECF as a separate attachment when filing the Acknowledgment and Notice of
Appearance (use the multiple attachments option in CM/ECF when filing the Acknowledgment and Notice of
Appearance) with client personal contact information redacted, and (3) submitted in unredacted form in accordance with
the procedures outlined in Local Rule 25.2(c) and (d). If counsel represents multiple parties in the same appeal for which
the Acknowledgment and Notice of Appearance is being filed, the attorney must separately list each client and provide the
client's personal contact information. Attach additional pages as necessary.

Case Information:




Short Title:   Bromfield-Thomspson v. American University of Antigua      Docket Number:                             _

Personal Contact Information:

Client 1:

Name:                                                                                                                    _
Address:                                                                                                                 _
Telephone:                                                             _ Fax:                                            _
Email:                                                                                                                   _

Client 2:

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Client 3:

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Client 4:

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Client 5:

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Email:                                                                                                                   _
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                                 CERTIFICATE OF SERVICE


         I, Amina Hassan, hereby certify under penalty of perjury as follows:


         (1) On December 8, 2020, an electronic copy of the foregoing document was filed with

the Clerk of Court for the United States Court of Appeals for the Second Circuit using the

appellate CM/ECF system;


         (2) Counsel for National Board of Medical Examiners ("NBME") is a registered

CM/ECF user and that service will be accomplished by the appellate CM/ECF system; and


         (3) A true and correct copy of the foregoing document is being served on prose plaintiff-

appellant Debbie-Ann Bromfield-Thompson on December 8, 2020, by first class mail, postage

prepaid, addressed to: Debbie Ann Bromfield-Thompson, 1405 Kennedy Street NW,

Washington, DC 20011.

Executed on: December 8, 2020
             New York, New York
                                                         By:------------
                                                              Amina Hassan




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